Case 2:04-cr-20245-.]PI\/| Document 23 Filed 06/24/05 Page 1 of 3 Page|D 29

IN THE UNITED sTATES DISTRICT coURT Ff!.li.) f ._ .J.t-.
FOR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,

`V.

m,;¢l,m /WW

Criminal No ézzfé?¢z;vszl

(SO-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, August 26. 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

Thls document entered on the docket sheet |n compHanc»a
wlth Flu|e 55 andlor 32(b) FRCrP on ' '

Case 2:O4-cr-20245-.]P|\/| Document 23 Filed 06/24/05 Page 2 of 3 Page|D 30

so ORDERED this 24th day of June, 2005.

…GQQ

JO PHIPPS MCCALLA
ITED STA'I'ES DIS'I`RICT JUDGE

 

 

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Counsel for Defendant(s)

  

UNITED sTATE isTRIC COURT - WESTERN D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20245 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

